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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                          Tallahassee Division

AUGUST DEKKER, legally known as               )
KORI DEKKER; BRIT ROTHSTEIN;                  )
SUSAN DOE, a minor, by and through            )     Civil Action No.
her parents and next friends, JANE            )     4:22-cv-00325-RH-MAF
DOE and JOHN DOE; and K.F., a                 )
minor, by and through his parent and          )
next friend, JADE LADUE,                      )
                                              )
                                  Plaintiffs, )
v.                                            )
                                              )
SIMONE MARSTILLER, in her                     )
official capacity as Secretary of the         )
Florida Agency for Health Care                )
Administration; and FLORIDA                   )
AGENCY FOR HEALTH CARE                        )
ADMINISTRATION,                               )
                           Defendants.        )
____________________________________)

Declaration of Sydney Wright In Support of Defendants’ Opposition to Plaintiffs’
                      Motion for Preliminary Injunction

I, Sydney Wright, declare as follows:

      1.     I am over the age of 18 years and am not a party to this action. I have

actual knowledge of the following facts. I am submitting this Declaration in

support of Defendants’ opposition to Plaintiffs’ Motion for a Preliminary Injunction.

      2.     Florida’s Rule 59G-1.050(7) of the Florida Administrative Code (the

“Challenged Exclusion”) prohibits Medicaid coverage for medical and surgical

interventions to “alter primary or secondary sexual characteristics.” This Rule is
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needed to protect vulnerable young people from being misled and from physical

harm like what I experienced.

      3.       I'm a 23-year-old woman who spent a year as a "transman" after taking

mega doses of testosterone at age 18.

      4.       I began to identify as transgender in 2017 during counseling after

reading about transgenderism on the internet. I had not experienced feelings of

gender dysphoria prior to this time.

      5.       A neighborhood boy engaged in sexually touching with me from age

5 to 12. This awakened sexual feelings at too young an age and caused me to

feel unsafe.

      6.       I was very tomboyish growing up and was sometimes bullied. I

began having same-sex attractions as a teen. I was raised in a strict religious

home, where homosexuality was frowned upon. When my father learned that

I had same-sex attractions he kicked me out of his house (my parents divorced

when I was 12) and I went to live with my mother.

      7.       I was first introduced to transgenderism on social media at around

age 18. I began to question if I was really a man because I was attracted to girls.

      8.       I cut my long blond hair, which caused me to look more

masculine. This made me want to move quickly through transition.
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      9.    I started seeing a counselor on June 13, 2017. I disclosed to

the counselor that I had been sexually molested for years as a child, about my

parents' contentious divorce, and about my dysfunctional relationship with

both parents. I also disclosed that I was in a dysfunctional marriage to a

physically abusive woman who bought and sold drugs.

      10.   The counselor did not explore how any of this history might

be contributing to my dysphoria, but simply asked some questions and

diagnosed me with gender dysphoria and gave me a recommendation to a

physician for testosterone treatment within five weeks of our first meeting.

      11.   My frame of mind at the time, at age 18, was that I believed I

might have been "born in the wrong body" and needed to correct it. But I was

also unsure, confused, and in need of guidance. Had a professional told me the

truth and helped me explore why I was distressed by being a girl (and a lesbian)

in a nonjudgmental way, I would not have proceeded with testosterone.

      12.   However, that was not the case, and I met with the doctor in Atlanta

Georgia to whom the counselor referred me. The visit lasted about 10 minutes.

He asked me for my "hormone letter," but did not open it or read it. He did not

ask any questions to confirm that I had gender dysphoria or any questions

concerning my medical history or past or present physical condition or

symptoms.
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      13.    I told the doctor that I was nervous, and he simply asked, "Do you

want to do this?" and told me I could pick up the testosterone that day. I asked

the doctor if he would administer the injections in the office. He said no and told

me to go home and look on You Tube to find out how to give myself the shots,

indicating "There's no wrong way to do it.” I later learned that the shots were

supposed to be administered intramuscularly            after administering      them

subcutaneously in my stomach which caused pain and bubbles to form under

the skin.

      14.    My voice began to deepen, which I have found out is going to

be a permanent, irreversible change.

      15.    I gained over 50 pounds and became pre-diabetic. When I

mentioned this to the physician during a follow up appointment, he just told me to

start working out.

      16.    After about a year on testosterone, test results revealed that my blood

was starting to thicken, my red blood cell count was too high, and I was developing

a blood disorder that could lead to a heart attack or stroke if not controlled. I

did some research and believe this was polycythemia. I began experiencing chest

pains and was told I had developed a blood clot in my lungs because of the

thickening blood. I also developed tachycardia.
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      17.    I began suffering excruciating and constant abdominal pain and could

not eat. Testing did not reveal any disorders. I was later diagnosed with irritable

bowel syndrome, which I continue to suffer with.

      18.    The pain was becoming so excruciating that I became suicidal. My

mental health was deteriorating as I was suffering from depression, irritability,

insecurity, and exhaustion.

      19.   The changes brought on by the testosterone caused my family

tremendous emotional distress. Finally, my grandfather sat me down with tears in

his eyes and asked me to stop what I was doing to myself. That was a saving grace.

I would have let the treatment kill me before admitting that I had made a mistake.

My grandfather's intervention saved my life.

      20.   I stopped taking testosterone and resumed living as a female. My

physical and mental health have improved, but I continue to suffer adverse effects

from the treatments, including a deepened voice and digestive issues that I’ve been

told will be permanent.

      21.   I also suffer extreme regret for the choices I made as a teenager. I

trusted the doctors' advice. They were the experts, who was I as a confused and

scared 18-year-old not to listen to them?

      22.    But telling an I8-year-old girl that mega-doses of testosterone would

fix her mental health problems? They didn't even talk to me about other treatment
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options. No doctor or therapist suggested I give myself time to grow up, or suggested

counseling for what was causing my feelings - no doctor or therapist told me most

young people outgrow their feelings of wanting to be the opposite sex. The only

advice I got was to take mega-doses of testosterone.

      23.    Unfortunately, there are more and more young people like me being

deceived every day, being told that the solution to their insecurity and identity

problems is to get a "sex change." The problem is a person's sex can't really be

changed. You can take hormones and have cosmetic surgeries, but that doesn't really

change your sex, or solve your problems. I wish I knew that when I was younger.

      24.    Florida’s Rule is a critical and necessary regulation that will help spare

Florida citizens from being similarly misled and suffering the distress I am

continuing to suffer because of the availability of medical interventions to young

people like me. This Rule will save a lot of pain and may even save lives.

      I declare under penalty of perjury that the foregoing is true and correct.

Dated: October 3, 2022.



                                        /s/ Sydney Wright
                                        Sydney Wright
